            Case 5:12-md-02314-EJD Document 149 Filed 07/05/17 Page 1 of 2



     Stephen G. Grygiel (admitted pro hac vice)    Frederic S. Fox (admitted pro hac vice)
 1
     SILVERMAN THOMPSON                            David A. Straite (admitted pro hac vice)
 2   SLUTKIN WHITE LLC                             KAPLAN FOX & KILSHEIMER LLP
     201 N. Charles Street, 26TH Floor             850 Third Avenue, 14th Floor
 3   Baltimore, MD 21201                           New York, NY 10022
     Tel.: (410) 385-2225                          Tel.: (212) 687-1980
 4
     Fax: (410) 547-2432                           Fax: (212) 687-7714
 5   sgrygiel@mdattorney.com                       dstraite@kaplanfox.com

 6                                                 Laurence D. King (206423)
 7                                                 Mario Choi (243409)
                                                   KAPLAN FOX & KILSHEIMER LLP
 8                                                 350 Sansome Street, 4th Floor
                                                   San Francisco, CA 94104
 9                                                 Tel.: (415) 772-4700
10                                                 Fax: (415) 772-4707
                                                   lking@kaplanfox.com
11
12                               UNITED STATES DISTRICT COURT
13                             NORTHERN DISTRICT OF CALIFORNIA
                                       SAN JOSE DIVISION
14
15                                                     No. 5:12-md-02314-EJD
16
17   IN RE: FACEBOOK, INC. INTERNET                  [PROPOSED] ORDER [GRANTING]
     TRACKING LITIGATION                             [DENYING] PLAINTIFFS’
18                                                   ADMINISTRATIVE MOTION TO FILE
                                                     PORTIONS OF MEMORANDUM OF
19                                                   POINTS AND AUTHORITIES UNDER SEAL
20
21
22
23
24
25
26
27
28

     [PROPOSED] ORDER [GRANTING] [DENYING] PLAINTIFFS’ ADMINISTRATIVE MOTION TO FILE
                               MEMORANDUM UNDER SEAL
                                          No. 5:12-md-02314-EJD
              Case 5:12-md-02314-EJD Document 149 Filed 07/05/17 Page 2 of 2




 1          The Court has reviewed plaintiffs’ administrative motion to file portions of the Memorandum of
 2   Points and Authorities in Opposition to Facebook’s Motion to Dismiss (the “Memorandum”) under seal,
 3   as well as all papers filed by the parties in support thereof. IT IS HEREBY ORDERED that the Motion
 4   is [granted] [denied].
 5
 6   IT IS SO ORDERED.
 7
              July 5, 2017
     DATED: ___________________________                _____________________________________
 8
                                                       THE HONORABLE EDWARD J. DAVILA
 9                                                     United States District Court Judge

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                      1
      [PROPOSED] ORDER [GRANTING] [DENYING] PLAINTIFFS’ ADMINISTRATIVE MOTION TO FILE
                                MEMORANDUM UNDER SEAL
                                           No. 5:12-md-02314-EJD
